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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2024-90398
      SouthRock Capital Ltda.
      Hearing on [1].




      Case Type :                    bk
      Case Number :                  2024-90398
      Case Title :                   SouthRock Capital Ltda.

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